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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 Derek R. Hoffman, Bar No. 285784
 Paul Cliff, Bar No. 151059                                                                               FILED & ENTERED
 Gresham Savage Nolan & Tilden, PC
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 Paul.Cliff@GreshamSavage.com                                                                              CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY craig      DEPUTY CLERK




      Attorney for Movant
      Movant appearing without an attorney

                                           UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA -RIVERSIDE DIVISION

 In re:                                                                       CASE NO.: 6:19-bk-19750-SC

 DELTA HOSPICE OF CALIFORNIA, INC.                                            CHAPTER: 11

                                                                                 ORDER GRANTING MOTION FOR RELIEF
                                                                                   FROM STAY UNDER 11 U.S.C. § 362
                                                                                       (UNLAWFUL DETAINER)

                                                                              DATE: 2/11/2020
                                                                              TIME: 10:00 am
                                                                              COURTROOM: 126
                                                                              PLACE: 3420 Twelfth Street, Riverside, CA 92501


                                                              Debtor(s).
 Movant: Poseidon Chino Corporate Center LLC


1. The Motion was:                    Opposed               Unopposed                Settled by stipulation

2. This order applies to the following real property (Property):
    Type of property:            Residential            Nonresidential
    Street Address: 14726 Ramona Avenue
    Unit/Suite number: Suite 200
    City, State, Zip Code: Chino, California 91710

3. The Motion is granted under:
    a.         11 U.S.C. § 362(d)(1)
    b.         11 U.S.C. § 362(d)(2)


          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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      c.         11 U.S.C. § 362(d)(4). The filing of the bankruptcy petition was part of a scheme to hinder, delay, or defraud
                 creditors that involved:
           (1)        The transfer of all or part ownership of, or other interest in, the Property without the consent of the
                      secured creditor or court approval; and/or
           (2)        Multiple bankruptcy cases affecting the Property.
           (3)        The court          makes           does not make            cannot make a finding that the Debtor was involved in
                      this scheme.
           (4) If recorded in compliance with applicable state laws governing notices of interests or liens in real property, this
               order is binding in any other case under this title commenced by or against any debtor who claims any
               interest in the Property purporting to affect such real property filed not later than 2 years after the date of the
               entry of this order by the court, except that a debtor in a subsequent case under this title may move for relief
               from this order based upon changed circumstances or for good cause shown, after notice and a hearing. Any
               federal, state or local government unit that accepts notices of interests or liens in real property shall accept
               any certified copy of this order for indexing and recording.

4.         As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.         Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.         Modified or conditioned as set forth in Exhibit                   to this order.
      c.         Annulled retroactive to the bankruptcy petition date. Any postpetition acts taken by or at the request of the
                 Movant to enforce its remedies regarding the Property, including without limitation entry of any order,
                 judgment or writ, do not constitute a violation of the stay.
5.         Movant may enforce its remedies to obtain possession of the Property, including lockout, in accordance with
           applicable nonbankruptcy law, but may not pursue any monetary claim against the Debtor or property of the estate
           for amounts attributable to the period before the bankruptcy was filed except by filing a proof of claim pursuant to
           11 U.S.C. § 501.

6.         Movant shall not cause the Debtor to be locked out before (date)                                    .

7.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
           the same terms and conditions as to the Debtor.

8.         The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

9.    This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
      of the Bankruptcy Code.

10.        This order is binding in any other bankruptcy case commenced by or against any debtor who claims any interest
           in the Property, or purporting to affect the Property filed not later than 2 years after the date of entry of this order,
           except that a debtor in a subsequent case may move for relief from this order based upon changed circumstances
           or for good cause shown, after notice and hearing.

11.        This order is binding and effective in any bankruptcy commenced by or against the Debtor for a period of 180
           days from the hearing of this Motion.

12.        This order is binding and effective in any bankruptcy commenced by or against any debtor who claims any
           interest in the Property for a period of 180 days from the hearing of this Motion.
      a.         without further notice.
      b.         upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.




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13.        A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
           of any future bankruptcy case concerning the Property for a period of 180 days from the hearing of this Motion.
      a.        without further notice.
      b.        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                nonbankruptcy law.

14.        Other (specify):




                                                                            ###




                   Date: February 11, 2020




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